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                                                                                    CLERK, U.S. DISTRICT COURT


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                                                                                                        DEPUTY
                                     UNITED STATES DISTRICT COURT ~ BY
                                   CENTRAL DISTRICT OF CALIFORNIA

                                                            CASE NUMBER:
 UNITED STATES OF AMERICA
                                                PLAINTIFF         Z.3 ('/L      ~ ~ ~ _ ~F~ ~
                   V.

                                                                         WAIVER OF INDICTMENT
                                              DEFENDANT


     I~        ~;~ !„~,, ~   ~~izMc.v                                                      ,the above-named defendant,
 who is accused of             ~Q, (~S C        ~ ~o ~   ~-                                               ,in
violation of                   /?, V S ~        /~ ~ ~                                                    ,being
advised ofthe nature of the charge,the proposed information, and of my rights, hereby waive in open court on
     ~,Z y.z~                         ,prosecution by indictment and consent that the proceedings may be by
information rather than by indictment.

          y -~.~- a3
Date                                                                   efe     nt

     y-2y- z3
Date                                                                   ounse    r De endant

          y -a~ -23
Date                                                        Before: Judicial0 c




Ifthe defendant does not speak English, complete the following:

I,                                             am fluent in written and spoken English and
languages. I accurately translated this Waiver ofIndictment from English to
for defendant                                          on this date.



Date                                                                Interpreter




CR-57(06/14)                                     WAIVER OF INDICTMENT
